                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF WISCONSIN
                                MILWAUKEE DIVISION


William Feehan,

               Plaintiffs,
                                                                            Case No. 2:20-cv-1771
       vs.

Wisconsin Elections Commission, and its
members, Ann S. Jacobs, Mark L. Thomsen,
Marge Bostelman, Julie M. Glancey, Dean
Knudson, Robert F. Spindell, Jr., in their official
capacities, Governor Tony Evers, in his official
capacity,

               Defendants.



                                   NOTICE OF APPEARANCE


         PLEASE TAKE NOTICE that Joseph S. Goode hereby appears in this matter as counsel

 for Proposed Amicus Curiae Wisconsin State Conference NAACP, Dorothy Harrell, Wendell J.

 Harris, Sr., and Earnestine Moss, and further requests that all further notices and copies of

 pleadings, papers, and other materials relevant to this action be directed and served upon him via

 the PACER/ECF electronic filing system, with correspondence, written discovery, and other

 documents not filed with the Court to be served upon him at the address below.




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Dated this 8th day of December 2020.

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